  8:10-cr-00168-JFB-TDT                Doc # 33      Filed: 06/18/10        Page 1 of 1 - Page ID # 57



                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                                    )
                                                             )                8:10CR168
                          Plaintiff,                         )
                                                             )
        vs.                                                  )                 ORDER
                                                             )
JONNA STEFFEN,,                                              )
                                                             )
                          Defendant.                         )



        This matter is before the court on the motion for an extension of time by defendant Jonna Steffen

(Steffen) (Filing No. 30). Steffen seeks until June 30, 2010 in which to file pretrial motions in accordance with

the progression order. Steffen's counsel represents that Steffen will file an affidavit wherein she consents to

the motion and acknowledges she understands the additional time may be excludable time for the purposes of

the Speedy Trial Act. Steffen's counsel represents that government's counsel has no objection to the motion.

Upon consideration, the motion will be granted



        IT IS ORDERED:

        Defendant Steffen's motion for an extension of time (Filing No. 30) is granted. Steffen is given until on

or before June 30, 2010, in which to file pretrial motions pursuant to the progression order. The ends of justice

have been served by granting such motion and outweigh the interests of the public and the defendant in a

speedy trial. The additional time arising as a result of the granting of the motion, i.e., the time between June

18, 2010 and June 30, 2010, shall be deemed excludable time in any computation of time under the

requirement of the Speedy Trial Act for the reason defendant's counsel requires additional time to adequately

prepare the case, taking into consideration due diligence of counsel, and the novelty and complexity of this case.

The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).



        DATED this 18th day of June, 2010.

                                                             BY THE COURT:


                                                             s/ Thomas D. Thalken
                                                             United States Magistrate Judge
